            Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 1 of 18




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JOHN MAHONEY, on behalf of himself and all :
others similarly situated,                                             :
                                                                       :
                               Plaintiffs,                             :
                                                                       :
                               v.                                      :   CLASS ACTION COMPLAINT
                                                                       :      FOR INJUNCTIVE AND
RURAL KING C, INC.,                                                    :     DECLARATORY RELIEF
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
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                                                    INTRODUCTION
1.        Plaintiff JOHN MAHONEY (“Plaintiff” or “MAHONEY”), on behalf of himself and

          others similarly situated, asserts the following claims against Defendant RURAL KING C,

          INC. (“Defendant” or “RURAL KING”) as follows.

2.        Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the

          United States are visually impaired, including 2.1 million who are blind, and according to

          the American Foundation for the Blind’s 2016 report, approximately 300,000 visually

          impaired persons live in the State of Pennsylvania.

3.        “Being unable to access website puts individuals at a great disadvantage in today’s society,

          which is driven by a dynamic electronic marketplace and unprecedented access to

          information.” U.S. Dep’t of Justice, Statement of Eve L. Hill before the Senate Comm. on

          Health, Educ., Labor & Pensions, at 3 (May 14, 2013).

4.        Plaintiff is a blind, visually-impaired handicapped person and a member of a protected

          class of individuals under the




                                                                -1-
      Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 2 of 18




5.   ADA, under 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set

     forth at 28 CFR §§ 36.101 et seq.

6.   Plaintiff requires screen-reading software to read website content using his computer.

     Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with visual

     impairments who meet the legal definition of blindness in that they have a visual acuity

     with correction of less than or equal to 20 x 200.

7.   Plaintiff brings this civil rights action against Defendant to enforce Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires,

     among other things, that a public accommodation (1) not deny persons with disabilities the

     benefits of its services, facilities, privileges and advantages; (2) provide such persons with

     benefits that are equal to those provided to nondisabled persons; (3) provide auxiliary aids

     and services—including electronic services for use with a computer screen reading

     program—where necessary to ensure effective communication with individuals with a

     visual disability, and to ensure that such persons are not excluded, denied services,

     segregated or otherwise treated differently than sighted individuals; and (4) utilize

     administrative methods, practices, and policies that provide persons with disabilities equal

     access to online content.

8.   By failing to make its Website available in a manner compatible with computer screen

     reader programs, RURAL KING, a public accommodation subject to Title III, deprives

     blind and visually-impaired individuals the benefits of its online goods, content, and

     services—all benefits it affords nondisabled individuals—thereby increasing the sense of

     isolation and stigma among these Americans that Title III was meant to redress.




                                              -2-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 3 of 18




9.    Upon information and belief, because RURAL KING’s Website has never been accessible

      and because RURAL KING does not have, and has never had, an adequate corporate policy

      that is reasonably calculated to cause its Website to become and remain accessible, Plaintiff

      invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring:

             a. that RURAL KING retain a qualified consultant acceptable to Plaintiff
                (“Mutually Agreed Upon Consultant”) who shall assist it in improving the
                accessibility of its Website so the goods and services on them may be equally
                accessed and enjoyed by individuals with vision related disabilities;

             b. that RURAL KING work with the Mutually Agreed Upon Consultant to ensure
                that all employees involved in website development and content development
                be given web accessibility training on a periodic basis, including onsite training
                to create accessible content at the design and development stages;

             c. that RURAL KING work with the Mutually Agreed Upon Consultant to
                perform an automated accessibility audit on a periodic basis to evaluate whether
                RURAL KING’s Website may be equally accessed and enjoyed by individuals
                with vision related disabilities on an ongoing basis;

             d. that RURAL KING work with the Mutually Agreed Upon Consultant to
                perform end-user accessibility/usability testing on a periodic basis with said
                testing to be performed by individuals with various disabilities to evaluate
                whether RURAL KING’s Website may be equally accessed and enjoyed by
                individuals with vision related disabilities on an ongoing basis;

             e. that RURAL KING work with the Mutually Agreed Upon Consultant to create
                an accessibility policy that will be posted on its Website, along with an e-mail
                address and tollfree phone number to report accessibility-related problems; and

             f. that Plaintiff, their counsel and its experts monitor Defendant’s Website for up
                to two years after the Mutually Agreed Upon Consultant validates it is free of
                accessibility errors/violations to ensure RURAL KING has adopted and
                implemented adequate accessibility policies.

10.   Web-based technologies have features and content that are modified on a daily, and

      in some instances, an hourly, basis, and a one time “fix” to an inaccessible website will not

      cause the website to remain accessible without a corresponding change in corporate

      policies related to those web-based technologies. To evaluate whether an inaccessible




                                               -3-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 4 of 18




      website has been rendered accessible, and whether corporate policies related to web-based

      technologies have been changed in a meaningful manner that will cause the website to

      remain accessible, the website must be reviewed on a periodic basis using both automated

      accessibility screening tools and end user testing by disabled individuals.

                               JURISDICTION AND VENUE

11.   This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42

      U.S.C. § 12188.

12.   RURAL KING purposefully targets and otherwise solicits business from Pennsylvania

      residents through its Website. Because of this targeting, it is not unusual for RURAL KING

      to conduct business with Pennsylvania residents. In fact, the opposite is true: RURAL

      KING clearly does business over the Internet with Pennsylvania residents, having entered

      into contracts with Pennsylvania residents that involve the knowing and repeated

      transmission of computer files over the Internet. See Gniewkowski v. Lettuce Entertain

      You, Order, ECF No. 123 (W.D. Pa Apr. 25, 2017) clarified by Order of Court, ECF No.

      169 (W.D. Pa. June 22, 2017) (Judge Schwab) (The court exercised personal jurisdiction

      over an out-of-forum defendant for claims its website is inaccessible to a visually disabled

      resident of the forum state.); see also Access Now Inc. v. Otter Products, LLC, Case No.

      1:17-cv-10967-PBS (D.Mass. Dec. 4, 2017) (exercising personal jurisdiction over forum-

      based plaintiff’s website accessibility claims against out-of-forum website operator).

13.   Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the judicial

      district in which a substantial part of the acts and omissions giving rise to Plaintiff claims

      occurred.




                                               -4-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 5 of 18




14.   This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201 and

      2202.

                                          PARTIES
15.   Plaintiff, at all relevant times, is and was a resident of Bucks County, Pennsylvania.

16.   Defendant is and was at all relevant times an Illinois corporation doing business in

      Pennsylvania.

17.   Defendant’s physical location and its Website, and the goods and services offered

      thereupon, is a public accommodation within the definition of Title III of the ADA, 42

      U.S.C. § 12181(7).

                                   NATURE OF ACTION
18.   The Internet has become a significant source of information, a portal, and a tool for

      conducting business, doing everyday activities such as shopping, learning, banking,

      researching, as well as many other activities for sighted, blind and visually-impaired

      persons alike.

19.   In today’s tech-savvy world, blind and visually impaired people have the ability to access

      website using keyboards in conjunction with screen access software that vocalizes the

      visual information found on a computer screen or displays the content on a refreshable

      Braille display. This technology is known as screen-reading software. Screen-reading

      software is currently the only method a blind or visually-impaired person may

      independently access the internet. Unless website are designed to be read by screen-reading

      software, blind and visually-impaired persons are unable to fully access website, and the

      information, products, goods and contained thereon.

20.   Blind and visually-impaired users of Windows operating system-enabled computers and

      devices have several screen reading software programs available to them. Some of these



                                              -5-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 6 of 18




      programs are available for purchase and other programs are available without the user

      having to purchase the program separately. Job Access With Speech, otherwise known as

      “JAWS” is currently the most popular, separately purchased and downloaded screen-

      reading software program available for a Windows computer. Another popular screen-

      reading software program is NonVisual Desktop Access “NVDA.” Plaintiff uses the latter.

21.   For screen-reading software to function, the information on a website must be capable of

      being rendered into text. If the website content is not capable of being rendered into text,

      the visually-impaired user is unable to access the same content available to sighted users.

22.   The international website standards organization, the World Wide Web Consortium,

      known throughout the world as W3C, has published version 2.1 of the Web Content

      Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for

      making website accessible to blind and visually-impaired people. These guidelines are

      universally followed by most large business entities and government agencies to ensure

      their website are accessible.

23.   Non-compliant website pose common access barriers to blind and visually-impaired

      persons. Common barriers encountered by blind and visually impaired persons include, but

      are not limited to, the following:

             a.      A text equivalent for every non-text element is not provided;

             b.      Title frames with text are not provided for identification and navigation;

             c.      Equivalent text is not provided when using scripts;

             d.      Forms with the same information and functionality as for sighted

             persons are not provided;

             e.      Information about the meaning and structure of content is not




                                              -6-
Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 7 of 18




    conveyed by more than the visual presentation of content;

    f.      Text cannot be resized without assistive technology up to 200%

    without losing content or functionality;

    g.      If the content enforces a time limit, the user is not able to extend,

    adjust or disable it;

    h.      Web pages do not have titles that describe the topic or purpose;

    i.      The purpose of each link cannot be determined from the link text

    alone or from the link text and its programmatically determined link context;

    j.      One or more keyboard operable user interface lacks a mode of

    operation where the keyboard focus indicator is discernible;

    k.      The default human language of each web page cannot be

    programmatically determined;

    l.      When a component receives focus, it may initiate a change in

    context;

    m.      Changing the setting of a user interface component may

    automatically cause a change of context where the user has not been advised before

    using the component;

    n.      Labels or instructions are not provided when content requires user

    input, which include captcha prompts that require the user to verify that he or she

    is not a robot;

    o.      In content which is implemented by using markup languages,




                                      -7-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 8 of 18




             elements do not have complete start and end tags, elements are not nested according

             to their specifications, elements may contain duplicate attributes, and/or any IDs

             are not unique;

             p.      Inaccessible Portable Document Format (PDFs); and,

             q.      The name and role of all User Interface elements cannot be

             programmatically determined; items that can be set by the user cannot be

             programmatically set; and/or notification of changes to these items is not available

             to user agents, including assistive technology.

                                  STATEMENT OF FACTS
24.   Defendant is a Home Goods Store that owns and operates www.ruralking.com (its

      “Website”), offering features which should allow all consumers to access its goods and

      services throughout the United States, including Pennsylvania.

25.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

      without the assistance of screen-reading software. Plaintiff is, however, a proficient NVDA

      screen-reader user and uses it to access the Internet.

26.   Plaintiff has attempted to use Defendant’s Website at least once in the past. Unfortunately,

      because of RURAL KING’s failure to build its Website in a manner that is compatible with

      screen reader programs, he is unable to understand, and thus is denied the benefit of, much

      of the content and services he wishes to access or use. For example:

             a. Many features on the Website lacks alt. text, which is the invisible code

                  embedded beneath a graphical image. As a result, Plaintiff was unable to

                  differentiate what products were on the screen due to the failure of the Website

                  to adequately describe its content.




                                               -8-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 9 of 18




             b. Many features on the Website also fail to Add a label element or title attribute

                 for each field. This is a problem for the visually impaired because the screen

                 reader fails to communicate the purpose of the page element. It also leads to the

                 user not being able to understand what he or she is expected to insert into the

                 subject field.

             c. The Website also contains a host of broken links, which is a hyperlink to a non-

                 existent or empty webpage. For the visually impaired this is especially

                 paralyzing due to the inability to navigate or otherwise determine where one is

                 on the website once a broken link is encountered.

27.   As a result of visiting RURAL KING’s Website and from investigations performed on his

      behalf, Plaintiff is aware the Website include at least the following additional barriers

      blocking his full and equal use:

             a. The Website does not provide a text equivalent for every non-text element;

             b. The purpose of each link cannot be determined from the link text alone or from

                 the link text and its programmatically determined link context;

             c. Web pages lack titles that describe their topic or purpose;

             d. Headings and labels do not describe topic or purpose;

             e. Keyboard user interfaces lack a mode of operation where the keyboard focus

                 indicator is visible;

             f. The default human language of each web page cannot be programmatically

                 determined;

             g. The human language of each passage or phrase in the content cannot be

                 programmatically determined;




                                              -9-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 10 of 18




             h. Labels or instructions are not always provided when content requires user input;

             i. Text cannot be resized up to 200 percent without assistive technology so that it

                 may still be viewed without loss of content or functionality;

             j. A mechanism is not always available to bypass blocks of content that are

                 repeated on multiple web pages;

             k. A correct reading sequence is not provided on pages where the sequence in

                 which content is presented affects its meaning;

             l. In content implemented using markup languages, elements do not always have

                 complete start and end tags, are not nested according to their specifications,

                 may contain duplicate attributes, and IDs are not always unique; and

             m. The name and role of all UI elements cannot be programmatically determined;

                 things that can be set by the user cannot be programmatically set; and/or

                 notification of changes to these items is not available to user agents, including

                 assistive technology.

28.   These barriers, and others, deny Plaintiff full and equal access to all of the services the

      Website offers, and now deter him from attempting to use the Website and/or visit RURAL

      KING. Still, Plaintiff would like to, and intends to, attempt to access RURAL KING’s

      Website in the future to research the services the Website offers, or to test the Website for

      compliance with the ADA.

29.   Due to Defendant’s failure and refusal to remove access barriers to its website, Plaintiff

      and visually-impaired persons have been and are still being denied equal access to

      Defendant’s Website, and the numerous goods and services and benefits offered to the

      public through the Website.




                                              -10-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 11 of 18




30.   If the Website were accessible, i.e. if RURAL KING removed the access barriers described

      above, Plaintiff could independently research the Website’s offerings, including making a

      purchase.

31.   Through his attempts to use the Website, Plaintiff has actual knowledge of the access

      barriers that make these services inaccessible and independently unusable by blind and

      visually-impaired people.

32.   Though RURAL KING may have centralized policies regarding the maintenance and

      operation of its Website, upon and information and belief, RURAL KING has never had a

      plan or policy that is reasonably calculated to make its Website fully accessible to, and

      independently usable by, individuals with vision related disabilities. As a result, the

      complained of access barriers are permanent in nature and likely to persist.

33.   The law requires that RURAL KING reasonably accommodate Plaintiff’s disabilities by

      removing these existing access barriers. Removal of the barriers identified above is readily

      achievable and may be carried out without much difficulty or expense.

34.   Plaintiff’s above request for injunctive relief is consistent with the work performed by the

      United States Department of Justice, Department of Transportation, and U.S. Architectural

      and Transportation Barriers Compliance Board (the “Access Board”), all of whom have

      relied upon or mandated that the public-facing pages of website complies with an

      international compliance standard known as Web Content Accessibility Guidelines version

      2.1 AA (“WCAG 2.1 AA”), which is published by an independent third party known as

      the Worldwide Web Consortium (“W3C”).




                                              -11-
        Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 12 of 18




35.    Plaintiff and the Class have been, and in the absence of an injunction will continue to be,

       injured by RURAL KING’s failure to provide its online content and services in a manner

       that is compatible with screen reader technology.

36.    RURAL KING has long known that screen reader technology is necessary for individuals

       with visual disabilities to access its online content and services, and that it is legally

       responsible for providing the same in a manner that is compatible with these auxiliary aids.

37.    Indeed, the Disability Rights Section of the DOJ reaffirmed in a 2015 Statement of Interest

       before the United States District Court for the District of Massachusetts that it has been a

       “longstanding position” of the Department of Justice “that the ADA applies to website of

       public accommodations.” See National Association of the Deaf v. Massachusetts Institute

       of Technology, No. 3:15-cv-300024-MGM, DOJ Statement of Interest in Opp. To Motion

       to Dismiss or Stay, Doc. 34, p. 4 (D. Mass. Jun. 25, 2015) (“MIT Statement of Interest”);

       see also National Association of the Deaf. v. Harvard University, No. 3:15-cv-30023-

       MGM, DOJ Statement of Interest of the United States of America, Doc. 33, p.4 (D. Mass.

       Jun. 25, 2015) (“Harvard Statement of Interest”).

38.    The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this action. In

       relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to alter
       facilities to make such facilities readily accessible to and usable by individuals with
       disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
       modification of a policy . . .

42 U.S.C. § 12188(a)(2).

39.    There is no DOJ administrative proceeding that could provide Plaintiff with Title III

       injunctive relief.




                                                -12-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 13 of 18




40.   While DOJ has rulemaking authority and can bring enforcement actions in court, Congress

      has not authorized it to provide an adjudicative administrative process to provide Plaintiff

      with relief.

41.   Plaintiff alleges violations of existing and longstanding statutory and regulatory

      requirements to provide auxiliary aids or services necessary to ensure effective

      communication, and courts routinely decide these types of matters.

42.   Resolution of Plaintiff’s claims does not require the Court to unravel intricate, technical

      facts, but rather involves consideration of facts within the conventional competence of the

      courts, e.g. (a) whether RURAL KING offers content and services on its Website, and (b)

      whether Plaintiff can access the content and services.

43.   Without injunctive relief, Plaintiff and other visually-impaired consumers will continue to

      be unable to independently use the Website, violating their rights.

                             CLASS ACTION ALLEGATIONS
44.   Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a nationwide

      class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the United

      States who have attempted to access Defendant’s Website and as a result have been denied

      access to the equal enjoyment of goods and services, during the relevant statutory period.

45.   Common questions of law and fact exist amongst Class, including:

              a.     Whether Defendant’s Website is a “public accommodation” under

              the ADA;

              b.     Whether Defendant’s Website denies the full and equal enjoyment

              of its products, services, facilities, privileges, advantages, or accommodations to

              people with visual disabilities, violating the ADA.




                                               -13-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 14 of 18




46.   Plaintiff’s claims are typical of the Class. The Class, like Plaintiff, are visually impaired or

      otherwise blind, and claim that Defendant has violated the ADA by failing to remove

      access barriers on its Website so as to be independently accessible to the Class.

47.   Plaintiff will fairly and adequately represent and protect the interests of the Class Members

      because Plaintiff has retained and is represented by counsel competent and experienced in

      complex class action litigation, and because Plaintiff has no interests antagonistic to the

      Class Members.

48.   Class certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because

      Defendant has acted or refused to act on grounds generally applicable to the Class, making

      appropriate both declaratory and injunctive relief with respect to the Class as a whole.

49.   Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because fact

      and legal questions common to Class Members predominate over questions affecting only

      individual Class Members, and because a class action is superior to other available methods

      for the fair and efficient adjudication of this litigation.

50.   Judicial economy will be served by maintaining this lawsuit as a class action in that it is

      likely to avoid the burden that would be otherwise placed upon the judicial system by the

      filing of numerous similar suits throughout the United States.

                           FIRST CAUSE OF ACTION
                  VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.
51.   Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

      allegation of the preceding paragraphs as if fully set forth herein.

52.   Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

      No individual shall be discriminated against on the basis of disability in the full and equal
      enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
      any place of public accommodation by any person who owns, leases (or leases to), or
      operates a place of public accommodation.


                                                -14-
        Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 15 of 18




42 U.S.C. § 12182(a).

53.    Defendant’s Website is a public accommodations within the definition of Title III of the

       ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the general public,

       and as such, must be equally accessible to all potential consumers.

54.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

       individuals with disabilities the opportunity to participate in or benefit from the products,

       services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

       12182(b)(1)(A)(i).

55.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

       individuals with disabilities an opportunity to participate in or benefit from the products,

       services, facilities, privileges, advantages, or accommodation, which is equal to the

       opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

56.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

       among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
       such modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities, unless the entity can
       demonstrate that making such modifications would fundamentally alter the nature of such
       goods, services, facilities, privileges, advantages or accommodations; and a failure to take
       such steps as may be necessary to ensure that no individual with a disability is excluded,
       denied services, segregated or otherwise treated differently than other individuals because
       of the absence of auxiliary aids and services, unless the entity can demonstrate that taking
       such steps would fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

57.    The acts alleged herein constitute violations of Title III of the ADA, and the regulations

       promulgated thereunder. Plaintiff, who is a member of a protected class of persons under




                                               -15-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 16 of 18




      the ADA, has a physical disability that substantially limits the major life activity of sight

      within the meaning of 42 U.S.C. § 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been

      denied full and equal access to the Website, has not been provided services that are

      provided to other patrons who are not disabled, and has not been provided any reasonable

      accommodation to those services. Defendant has failed to take any prompt and equitable

      steps to remedy its discriminatory conduct. These violations are ongoing.

58.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

      incorporated therein, Plaintiff, requests relief as set forth below.

                               SECOND CAUSE OF ACTION
                                 DECLARATORY RELIEF
59.   Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

      allegation of the preceding paragraphs as if fully set forth herein.

60.   An actual controversy has arisen and now exists between the parties in that Plaintiff

      contends, and is informed and believes that Defendant denies, that its Website contains

      access barriers denying blind customers the full and equal access to the products, services

      and facilities of its Website, which Defendant owns, operations and controls, fails to

      comply with applicable laws including, but not limited to, Title III of the Americans with

      Disabilities Act, 42 U.S.C. § 12182, et seq. prohibiting discrimination against the blind.

61.   A judicial declaration is necessary and appropriate at this time in order that each of the

      parties may know their respective rights and duties and act accordingly.

                                   PRAYER FOR RELIEF
      WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

62.   A Declaratory Judgment that at the commencement of this action RURAL KING was in

      violation of the specific requirements of Title III of the ADA described above, and the




                                               -16-
       Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 17 of 18




      relevant implementing regulations of the ADA, in that RURAL KING took no action that

      was reasonably calculated to ensure that its Website is fully accessible to, and

      independently usable by, individuals with visual disabilities;

63.   A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504(a) which

      directs Defendant to take all steps necessary to bring its Website into full compliance with

      the requirements set forth in the ADA, and its implementing regulations, so that its Website

      is fully accessible to, and independently usable by, blind individuals, and which further

      directs that the Court shall retain jurisdiction for a period to be determined to ensure that

      Defendant has adopted and is following an institutional policy that will in fact cause it to

      remain fully in compliance with the law—the specific injunctive relief requested by

      Plaintiff is described more fully in paragraph 8 above;

64.   An award of costs and expenses of this action;

65.   Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §

      36.505, including costs of monitoring Defendant’s compliance with the judgment (see

      Hadix v. Johnson, 143 F.3d 246 (6th Cir. 1998), aff'd in part, rev'd in part, 527 U.S. 343

      (1999); Jenkins v. Missouri, 127 F.3d 709 (8th Cir. 1997); Walker v. U.S. Dep't of Hous.

      & Urban Dev., 99 F.3d 761 (5th Cir. 1996); Stewart v. Gates, 987 F.2d 1450, 1452 (9th

      Cir. 1993) (district court should permit compensation for the post judgment monitoring

      efforts by the plaintiff’s counsel that are “useful and necessary to ensure compliance with

      the court's orders”); Garrity v. Sununu, 752 F.2d 727, 738-39 (1st Cir. 1984); Adams v.

      Mathis, 752 F.2d 553 (11th Cir. 1985); Willie M. v. Hunt, 732 F.2d 383, 385, 387 (4th Cir.

      1984); Bond v. Stanton, 630 F.2d 1231, 1233-34 (7th Cir. 1980); Northcross v. Board of

      Educ., 611 F.2d 624, 637 (6th Cir. 1979) (“Services devoted to reasonable monitoring of




                                              -17-
          Case 2:19-cv-04422-CMR Document 1 Filed 09/24/19 Page 18 of 18




         the court's decrees, both to ensure full compliance and to ensure that the plan is indeed

         working…are essential to the long-term success of the plaintiff's suit.”) (citing 3rd Circuit’s

         support for District Court’s award of prospective fees to plaintiff’s counsel);

66.      An order certifying the Class under Fed. R. Civ. P. 23(a) & (b)(2) and/or (b)(3), appointing

         Plaintiff as Class Representative, and his attorneys as Class Counsel; and

67.      Such other and further relief as this Court deems just and proper.


Dated:      Philadelphia, Pennsylvania
            September 19, 2019


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